             Case 3:07-cv-05944-JST Document 4600 Filed 04/25/16 Page 1 of 2


     Michael P. Kenny, Esq. (admitted pro hac vice)
 1
     mike.kenny@alston.com
 2   Debra D. Bernstein, Esq. (admitted pro hac vice)
     debra.bernstein@alston.com
 3   Matthew D. Kent, Esq. (admitted pro hac vice)
     matthew.kent@alston.com
 4   ALSTON & BIRD LLP
 5   1201 West Peachtree Street
     Atlanta, Georgia 30309-3424
 6   Tel: (404) 881-7000
     Fax: (404) 881-7777
 7
     James M. Wagstaffe, Esq. (SBN 95535)
 8   wagstaffe@kerrwagstaffe.com
 9   KERR & WAGSTAFFE LLP
     101 Mission Street, 18th Floor
10   San Francisco, California 94105-1576
     Tel: (415) 371-8500
11   Fax: (415) 371-0500
12   Attorneys for Plaintiffs Dell Inc. and Dell Products L.P.
13
                                UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
15
      In re: CATHODE RAY TUBE (CRT)                     Master File No. 3:07-md-05944-SC (N.D.
16
      ANTITRUST LITIGATION                              Cal.)
17
                                                        MDL No. 1917
18    This Document Relates to: Individual Case
      No. 13-cv-2171 (SC)                               PROPOSED ORDER
19
      DELL INC. AND DELL PRODUCTS L.P.,
20

21           PLAINTIFFS,

22           V.
23    HITACHI, LTD., ET AL.,
24
             DEFENDANTS.
25

26

27

28
     PROPOSED ORDER                                                                      3:13-cv-02171-SC
                                                                                             MDL No. 1917
             Case 3:07-cv-05944-JST Document 4600 Filed 04/25/16 Page 2 of 2


 1          The Court having considered the stipulation of the parties, and good cause appearing therefore,
 2   orders as follows:
 3          1. All claims asserted by Dell Inc. and Dell Products L.P. against Defendant LG Electronics,
 4              Inc. in the underlying action are hereby dismissed with prejudice pursuant to FRCP
 5              41(a)(2).
                                                                                  ISTRIC
 6          2. Each party shall bear its own costs and attorneys’ fees.      TES D      TC
                                                                           TA




                                                                                                         O
 7




                                                                     S
            IT IS SO ORDERED.




                                                                                                          U
                                                                    ED




                                                                                                           RT
 8                                                                                          DERED




                                                                UNIT
                                                                                  O OR
 9   Dated: _________________,
                  April 25     2016                                       IT IS S
                                                                _______________________________




                                                                                                                 R NIA
                                                                Honorable Jon S. Tigar
10                                                              United States District Judge
                                                                                                 . Ti ga r



                                                                NO
                                                                                            nS
                                                                               J u d ge J o




                                                                                                                 FO
11



                                                                  RT




                                                                                                             LI
12                                                                        ER


                                                                    H




                                                                                                         A
                                                                               N                             C
                                                                                                 F
13                                                                                 D IS T IC T O
                                                                                         R
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     PROPOSED ORDER                                                                                 3:13-cv-02171-SC
                                                                                                        MDL No. 1917
